   Case: 1:12-cr-00285-DCN Doc #: 1298 Filed: 06/24/13 1 of 2. PageID #: 10065




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


                                             )      CASE NO.       1:12 CR 285
UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )      JUDGE DONALD C. NUGENT
                                             )
       v.                                    )
                                             )
GREGORY MOTON,                               )      MEMORANDUM OPINION
                                             )          AND ORDER
               Defendant.                    )



       This matter comes before the Court upon Defendant, Gregory Moton’s Motion to Reduce

Sentence Pursuant to 18 U.S.C. § 3582(c)(2) (ECF #1286.) The government filed a Response in

Opposition to Mr. Moton’s Motion. (ECF #1287). For the reasons set forth below, the

Defendant’s Motion is hereby, DENIED.

       On January 16, 2013, Mr. Moton was sentenced to a term of 66 months imprisonment for

one count conspiracy to distribute cocaine and cocaine base (Count 1), to be followed by four

years supervision. Mr. Moton now claims his sentence was erroneously calculated and seeks a

reduction based on the Fair Sentencing Act of 2010. However, Mr. Moton was sentenced three

years after the FSA’s enactment and has received the benefit of the reduced statutory penalties

applicable to cocaine based offenses. Consequently, Mr. Moton is not eligible for sentence

reduction. Furthermore, Mr. Moton has presented no legal or factual basis for which he could
   Case: 1:12-cr-00285-DCN Doc #: 1298 Filed: 06/24/13 2 of 2. PageID #: 10066




otherwise seek a reduced or modified sentenced. His motion (ECF #1286) is therefore DENIED.

IT IS SO ORDERED.


                                                  /s/Donald C. Nugent
                                                 DONALD C. NUGENT
                                                 United States District Judge

DATED: June 24, 2013
